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                              UNITED STATES DISTRICT COURT
                                                            for the
                                             Central District of California

                                                                )
            In the Matter of the Search of:                     )
   Information associated with accounts identified as                   Case No. 2:19-MJ-04758
                                                                )
  “Docta Canis”, “Big Wood”, “Colt45caliber”, “The Hard         )
  Tard”, “homo chomo”, and “colt45caliber@gmail.com”
                                                                )
  that is within the possession, custody, or control of
                                                                )
                       GOOGLE, INC.

                    APPLICATION FOR WARRANT PURSUANT TO 18 U.S.C. § 2703

       I, a federal law enforcement officer, request a warrant pursuant to Title 18, United States Code, Section
2703, and state under penalty of perjury that I have reason to believe that within the following data:
       See Attachment A
There are now concealed or contained the items described below:
       See Attachment B
       The basis for the search is:
                 Evidence of a crime;
                 Contraband, fruits of crime, or other items illegally possessed;
                 Property designed for use, intended for use, or used in committing a crime.

       The search is related to a violation of:
         Code section(s)                                        Offense Description
 18 U.S.C. §§ 2703(a), 27003(b)(1)(A), 2703(c)(1)(A), and                See attached
 2703(d)



       The application is based on these facts:
       See attached Affidavit, which is incorporated herein by reference.

                                                                               Applicant’s signature
                                                                       SA Andrew James Marguette - FBI
                                                                               Printed name and title

 Sworn to before me and signed in my presence.

 Date: ___________________________________
                                                                                 Judge’s signature
 City and State: Los Angeles, CA                             HON. ROZELLA A. OLIVER, U.S. Magistrate Judge
                                                                               Printed name and title
 AUSA: JMC EXT: 6520
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                                AFFIDAVIT

     I, Andrew J. Marquette, being duly sworn, declare and state

as follows:

                           I.    INTRODUCTION
     1.   I am a Special Agent (“SA”) for the Federal Bureau of

Investigation (“FBI”) and an investigative or law enforcement

officer of the United States, within the meaning of Section

2510(7) of Title 18 of the United States Code. I am empowered by

law to conduct investigations of and to make arrests for federal

felony offenses.

     2.   I have been employed as a SA with the FBI since March

2019. I am presently assigned to the Los Angeles Field Office,

Long Beach Resident Agency, where I am responsible for

investigating violent crimes, threats to life, and other

violations of federal statutes. I received formal training to

become a SA at the FBI Academy in Quantico, Virginia, which

included training on interstate commerce violations, including

interstate threats made online or by other electronic means.

     3.   I am one of the SAs responsible for investigating

matters referenced in this affidavit. Because of my

participation in this investigation, which includes reviewing

evidence and analyzing reports and statements made by other law

enforcement personnel, I am familiar with the facts and

circumstances of this investigation.




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                          II.   PURPOSE OF AFFIDAVIT
        4.    This affidavit is made in support of an application

for a warrant for information associated with the accounts

identified as, “Docta Canis”, “Big Wood”, “Colt45caliber”, “The

Hard Tard”, “homo chomo”, and “colt45caliber@gmail.com” (the

“SUBJECT ACCOUNTS”) that are stored at premises owned,

maintained, controlled, or operated by Google, Inc. (the

“PROVIDER”), an electronic communication and remote computing

services provider, headquartered at 1600 Amphitheatre Parkway,

Mountain View, California 94043.1 The information to be searched
is described in Attachment A. This affidavit is made in support

of an application for search warrant under 18 U.S.C. §§ 2703(a),

27003(b)(1)(A), 2703(c)(1)(A), and 2703(d)2 to require the

1 Because this Court has jurisdiction over the offense(s) being
investigated, it may issue the warrant to compel the PROVIDER
pursuant to 18 U.S.C. §§ 2703(a), (b)(1)(A), (c)(1)(A). See 18
U.S.C. §§ 2703(a) (“A governmental entity may require the
disclosure by a provider…pursuant to a warrant issued using the
procedures described in the Federal Rules of Criminal
Procedure…by a court of competent jurisdiction”) and 2711 (“the
term ‘court of competent jurisdiction’ includes – (A)any
district court of the United States (including a magistrate
judge of such a court) or any United States court of appeals
that – (i) has jurisdiction over the offense being investigated;
(ii) is in or for a district in which the provider of a wire or
electronic communication service is located or in which the wire
or electronic communications, records, or other information are
stored; or (iii) is acting on a request for foreign assistance
pursuant to section 3512 of this title”).
2
 The government is seeking non-content records pursuant to
18 U.S.C. § 2703(d). To obtain the basic subscriber
information, which do not contain content, the government needs
only a subpoena. See 18 U.S.C. § 2703(c)(1), (c)(2). To obtain
additional records and other information--but not content--
pertaining to subscribers of an electronic communications
service or remote computing service, the government must comply

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PROVIDER to disclose to the government copies of the information

(including the content of communications) described in Section

II of Attachment B. Upon receipt of the information described in

Section II of Attachment B, law enforcement agents and/or

individuals assisting law enforcement and acting at their

direction will review that information to locate the items

described in Section III of Attachment B. Attachments A and B

are incorporated herein by reference.
     5.   As described more fully below, I respectfully submit

there is probable cause to believe that the requested

information associated with the SUBJECT ACCOUNTS includes

evidence, contraband, fruits, or instrumentalities of criminal

violations of Title 18, United States Code, Section 875(c)

(communication containing threat to injure).

     6.   The statements in this affidavit are based upon my

personal observations, my training and experience, my

investigation of this case, and, where noted, information

obtained from various law enforcement personnel and witnesses.

This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrant and does not


with the dictates of section 2703(c) (1) (B) , which requires
the government to supply specific and articulable facts showing
that there are reasonable grounds to believe that the records or
other information sought are relevant and material to an ongoing
criminal investigation in order to obtain an order pursuant to
18 U.S.C. § 2703(d). The requested warrant calls for both
records containing content (see Attachment B paragraph 11.10.a)
as well as subscriber records and other records and information
that do not contain content (see Attachment B paragraph
Il.lO.b).

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purport to set forth all of my knowledge of or investigation

into this matter. Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                    III. SUMMARY OF INVESTIGATION
     7.   The PROVIDER allows Internet users to store digital

files online, in the Internet “cloud” which can be viewed by

other users. On August 22, 2019, FBI National Threat Operations

Center (“NTOC”) received a report of an unknown subject making

threats against people, specifically children, via videos posted

on YouTube, a platform owned and operated by the PROVIDER. My

personal observations of the content in the SUBJECT ACCOUNTS

reveal they contain evidence of the offense, as well as showing

that the user of the SUBJECT ACCOUNTS resides in the Central

District of California. As set forth below in more detail, I

believe there is probable cause to search the SUBJECT ACCOUNTS

for evidence related to threat to injury offenses.

                  IV.   STATEMENT OF PROBABLE CAUSE
     8.   On August 22, 2019, the FBI NTOC received a report of

an unknown subject making threats against people, specifically

children, in YouTube videos. The videos were uploaded to the

user name “Docta Canis.”

     9.   On or about August 26, 2019, I reviewed the videos

mentioned in the report, which were publically available on

YouTube. In one video entitled “I can’t take getting stalked

anymore,” the man in the video described a scheme where


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individuals he describes as his “stalkers” are flagging his

Facebook account and shutting down his online profiles. He

mentions a “Josh Russell” by name. The man states that these

people harassing his online persona are giving him a reason to

kill children.

     10.   In a second video entitled “Stop Josh Russell or I

will kill,” the same man rants about the “stalkers’” negative

effects on his online profiles and ends the video by saying “I’m
going to kill children.”

     11.   The descriptions associated with each of the videos

provided links to three other YouTube channels that “Docta

Canis” claimed were his own: “Big Wood,” “Colt45Caliber,” and

“The Hard Tard.” The description also listed his personal email

as colt45caliber@gmail.com.

     12.   After I had watched the videos, I then reviewed

comments that were posted below the videos, including a

discussion between “Docta Canis” and a commenter. The commenter

asked why “Docta Canis” was upset and wanted to act violently.

In reply “Docta Canis” posted a link to a video. The video in

the link was entitled “Liar, Liar, Pants on FIre!!” and posted

by YouTube account “homo chomo.” The video depicts an

unidentified man who talks about a person named “Colton Wood”

and the interactions they have had over Wood’s apparent service

animal. While the man discusses his interactions with Colton

Wood, text is overlaid overtop of the video attempting to refute

the man’s arguments about his service animal and make claims

that the unidentified man is a child molester.
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     13.   A records check of “Docta Canis” on federal law

enforcement databases revealed the existence of over seven other

reports dating back to August 2017 where similar threats to

injury and life against people and children had been made by

“Docta Canis” via his YouTube videos. Multiple reports

identified the man in the videos as Colton David Wood. One

report, which summarizes contact between Torrance Police and

Colton Wood, contains photos, which are identified as photos of
Colton Wood. These photos match the individual shown in the two

YouTube videos by “Docta Canis” described above, as well as

videos referenced in the previous reports made on “Docta Canis.”

     14.   One of the reports on the federal law enforcement

database contained criminal records for Colton Wood in

California. From these records, I learned that Colton Wood has

multiple previous convictions in California, including Criminal

Threats, Threating Letter with Intent to Extort, and Cruelty to

Animals, among other convictions. The report also notes that

Colton Wood has a lifetime mental health firearms prohibition in

the state of California.

     15.   Another video was saved to these reports entitled “Do

not attach or even visit my Facebook again or the protocol will

be executed +.” In the video a person, whose physical appearance

and voice matched the physical appearance and voice of the

individual in the “Docta Canis” videos referenced above, was

upset that his Facebook account was subject to a 30-day ban

because of his “stalkers” flagging his Facebook posts. In the

video, he states: “You’re trying to get kids killed, you’re
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trying to get me to fucking commit an atrocity. And it’s going

to work motherfuckers.”

     16.   On September 4, 2019, while searching for additional

videos on YouTube, I discovered that YouTube removed YouTube

channels “Docta Canis”, “The Hard Tard”, and “Big Wood” for

multiple violations of YouTube’s policy on bullying, harassing,

and threatening content. Videos on these channels were no longer

available. The channel “colt45caliber” remained active and
videos posted there were still available to view.

     17.   On September 23, 2019, I viewed additional videos that

had recently been posted to the YouTube channel “colt45caliber”.

In one video entitled “West Covina Business,” the person

narrating the video walks around outside the West Covina Police

Station lamenting the fact that his cellular telephone’s screen

is cracked and he can’t get to court. The voice of the person

narrating the video matches the voice in the “Docta Canis”

videos referenced above. In the video’s comment section, one

commenter notes “Sounds like you need a new phone,” To which

“colt45caliber” responds: “Yes a phone is my most vital resource

and is the most likely reason I’ll lash out and start killing

people.”

     18.   After performing a search for “Colton Wood” I

discovered an additional video posted to the YouTube channel

“online yard sale” dated September 16, 2019. The video entitled
“terroristic threatening of colton wood” featured a person whose

physical appearance and voice matched the physical appearance

and voice of the individual in the “Docta Canis” and
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“colt45caliber” videos referenced above. The video’s narrator

notes that his Instagram account was attacked by people who

falsely flagged his account for inappropriate content. In

response the narrator says, “I just want to remind people that

if you take down the social media accounts, any of them

connected to this shit at this point, I am going to kill

innocent children in your name.” He reiterates that he has been

a victim of people who flag his account with what he describes
as child pornography accusations. He mentions he has evidence

that these people were falsely flagging his account and then

states “And remember I am going to kill them with torture too.

You are going to have to look into the eyes of the families of

people who have watched their children burned alive if you

continue to try to hide pedophile attacks. Give me a reason you

mother fuckers.” He then screams “Flag! Go ahead!”

      19.   On September 30, 2019, I reviewed additional videos

posted to the YouTube channel “colt45caliber”. One video was

entitled “Aaron Woody got me 5150 for 3 whole days by

impersonating me and re uploading old videos.” While being

detained by a Sheriff’s Deputy, the video’s narrator provides

his name as Colton David Wood with a birth date of July 20,

1985. The voice of Colton David Wood matches the voice in the

“Docta Canis” and “colt45caliber” videos referenced above.

 V.    BACKGROUND REGARDING DIGITAL CONTENT OFFENSES, COMPUTERS,
         THE WORLDWIDE INTERNET COMPUTER COMMUNICATION NETWORK,




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           DEFINITION OF TERMS, AND THE USE OF GOOGLE AS MEANS FOR
                           SHARING DIGITAL CONTENT

      A.     COMPUTER TECHNOLOGY AND DIGITAL CONTENT

      20.    Computers and Digital Content. Computers and computer

technology have revolutionized the way in which digital content

is produced, distributed, and utilized. The use of digital

technology has enabled users to electronically receive,

distribute, and possess digital files with other Internet users

worldwide.

      21.    File Storage. Computer users can choose their method
of storing files: either on a computer’s hard drive, an external

hard drive, a memory card, a USB thumb drive, a smart phone or

other digital media device, etc. (i.e., “locally”) or on virtual

servers accessible from any digital device with an Internet

connection (i.e., “cloud storage”). Computer users frequently

transfer files from one location to another, such as from a

phone to a computer or from cloud storage to an external hard

drive. Computer users also often create “backup,” or duplicate,

copies of their files. In this way, digital files are extremely

mobile and are easily reproduced and transported. For example,

with the click of a button, digital files can be put onto

external hard drives small enough to fit onto a keychain. Just

as easily, these files can be copied onto compact disks and/or

stored on mobile digital devices, such as smart phones and

tablets. Furthermore, even if digital files are stored on a

“cloud,” files stored in this manner can only be accessed via a

digital device. Therefore, viewing digital files would require a

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computer, smartphone, tablet, or some other digital device that

allows the user to access and view files on the Internet.

      22.   Internet. The term “Internet” is defined as the

worldwide network of computers -- a noncommercial, self-

governing network devoted mostly to communication and research

with roughly 500 million users worldwide. The Internet is not an

online service and has no real central hub. It is a collection

of tens of thousands of computer networks, online services, and
single user components. In order to access the Internet, an

individual computer user must use an access provider, such as a

university, employer, or commercial Internet Service Provider

(“ISP”), which operates a host computer with direct access to

the Internet.

      23.   Internet Service Providers. Individuals and businesses

obtain access to the Internet through ISPs. ISPs provide their

customers with access to the Internet using telephone or other

telecommunications lines; provide Internet e-mail accounts that

allow users to communicate with other Internet users by sending

and receiving electronic messages through the ISPs’ servers;

remotely store electronic files on their customer’s behalf; and

may provide other services unique to each particular ISP. ISPs

maintain records pertaining to the individuals or businesses

that have subscriber accounts with them. Those records often

include identifying and billing information, account access
information in the form of log files, e-mail transaction

information, posting information, account application


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information, and other information both in computer data and

written record format.

      24.   IP Addresses. An Internet Protocol address (“IP

Address”) is a unique numeric address used to connect to the

Internet. An IPv4 IP Address is a series of four numbers, each

in the range 0-255, separated by periods (e.g., 121.56.97.178).

In simple terms, one computer in a home may connect directly to

the Internet with an IP Address assigned by an ISP. What is now
more typical is that one home may connect to the Internet using

multiple digital devices simultaneously, including laptops,

tablets, smart phones, smart televisions, and gaming systems, by

way of example. Because the home subscriber typically only has

one Internet connection and is only assigned one IP Address at a

time by their ISP, multiple devices in a home are connected to

the Internet via a router or hub. Internet activity from every

device attached to the router or hub is utilizing the same

external IP Address assigned by the ISP. The router or hub

“routes” Internet traffic so that it reaches the proper device.

Most ISPs control a range of IP Addresses. The IP Address for a

user may be relatively static, meaning it is assigned to the

same subscriber for long periods of time, or dynamic, meaning

that the IP Address is only assigned for the duration of that

online session. Most ISPs maintain records of which subscriber

was assigned which IP Address during an online session.
      25.   IP Address – IPv6. Due to the limited number of

available IPv4 IP addresses, a new protocol was established

using the hexadecimal system to increase the number of unique IP
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addresses. An IPv6 consists of eight sets of combination of four

numbers 0-9 and/or letters A through F. An example of an IPv6 IP

address is 2001:0db8:0000:0000:0000:ff00:0042:8329.

      B.    GOOGLE
      26.   In my training and experience, I have learned that

providers of e-mail and/or social media services, such as

Google, offer a variety of online services to the public.

Subscribers obtain an account by registering with the provider.

During the registration process, providers generally ask their

subscribers to provide certain personal identifying information

when registering for an e-mail or social media account. Such

information can include the subscriber’s full name, physical

address, telephone numbers and other identifiers, alternative e-

mail addresses, and, for paying subscribers, means and source of

payment (including any credit or bank account number). Some

providers also maintain a record of changes that are made to the

information provided in subscriber records, such as to any other

e-mail addresses or phone numbers supplied in subscriber

records.

      27.   A subscriber of Google can also store with Google

files in addition to e-mails or other messages, such as address

books, contact or buddy lists, calendar data, pictures or photos

or videos (other than ones attached to e-mails), notes, and

other files, on servers maintained and/or owned by Google.

Google allows up to 15 gigabyte of free storage online.




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      28.   Google owns a variety of subsidiary companies that it

operates in conjunction with its main corporate offerings. One

of these subsidiary companies is YouTube, an online video

sharing website designed to provide a platform for users to

upload and post videos to their channels for other users on the

site to watch.

      C.    CLOUD-BASED STORAGE
      29.   Based my training and experience, I have learned that

there are numerous cloud-based storage services available for

consumers offering many different capabilities. In general,

cloud-based storage services can be defined as an online storage

mediums on the Internet accessed from a computer or electronic

storage device. Providers, such as Dropbox, Inc. and Oath

Holdings Inc., make it possible for the user to have access to

saved files, data, programs, etcetera (referred to as

"contents") without the requirement of storing said contents on

their own computers or other electronic storage devices; to

include physical hard drives, USB drives, CDS, DVDS, etc. The

PROVIDER provides an “offsite” storage medium for contents that

can be viewed at any time from any device capable of accessing

the Internet.

      30.   Users can store their contents on a cloud-based

storage and avoid having the contents accessed and, in some

cases, appear on their computers. Anyone conducting a search of

an individual's computer would not be able to see the contents

if the user opted to store the contents in the "cloud."


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      31.   In my training and experience, the subscriber

information collected by the PROVIDER during the account

registration process - such as name, address, telephone numbers,

alternative e-mail addresses, and, for paying subscribers, means

and source of payment (including any credit or bank account

number) - may constitute evidence of crimes under investigation

because the information can identify the user(s) of the SUBJECT

ACCOUNTS.
      32.   In my training and experience, providers typically

retain certain transactional information about the creation and

use of each account on their systems. This information can

include the date on which the account was created, the length of

service, records of login (i.e., session) times and durations,

the types of service utilized, the status of the account

(including whether the account is inactive or closed), the

methods used to connect to the account (such as logging into the

account via the provider's website), and other log files that

reflect usage of the account. In addition, providers often have

records of the Internet Protocol (“IP”) address used to register

the account and the IP addresses associated with particular

logins to the account. Because electronic devices that connect

to the Internet use an IP address, IP address information can

help to potentially identify locations where computers and

devices were used to access the SUBJECT ACCOUNTS.
      33.   In my training and experience, account users will

sometimes communicate directly with a service provider about

issues relating to the account, such as technical problems,
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billing inquiries, or complaints from other users. Providers

typically retain records about such communications, including

records of contacts between the user and the provider's support

services, as well records of any actions taken by the provider

or user as a result of the communications. In my training and

experience, such information may constitute evidence of the

crimes under investigation because the information can be used

to identify the user(s) of the SUBJECT ACCOUNTS.
      34.   I request that the PROVIDER provide the entire

contents for the SUBJECT ACCOUNTS since inception until the time

the requested warrant is served on them, and that the items to

be seized set forth in detail in Attachment B permit law

enforcement to seize such items without limit as to time in

order to assist in identifying the individual(s) participating

in the communicating of threats to life. I further request this

because the SUBJECT ACCOUNTS may have historical information

about the identities of the user(s) of one or other accounts

involved in this crime.

      35.   The requested search warrant specifically requests any

and all logs of user activity, including web requests or HTTP

request, web server logs, web access logs, login tracker logs,

account management logs, web proxy logs, any search history or

web history, and any other information concerning web sites

navigated to or analytics related to the SUBJECT ACCOUNTS. Those
records can show other actions taken in furtherance of criminal

activity.


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      36.   In order to identify other accounts used or maintained

by the user of the SUBJECT ACCOUNTS, the warrant also calls for

the PROVIDER to disclose any cookies associated with the SUBJECT

ACCOUNTS. The warrant also calls for the PROVIDER to identify

any other accounts accessed by any computer or web browser using

the same cookies (but not to provide the contents of

communications in those accounts).

      37.   I know from my training and experience that the
complete contents of an account may be important to establishing

the actual user who has dominion and control of that account at

a given time. Accounts may be registered in false names or

screen names from anywhere in the world with little to no

verification by the provider. They may also be used by multiple

people. Given the ease with which e-mail accounts may be created

under aliases, and the rarity with which law enforcement has

eyewitness testimony about an individual’s use of an account,

investigators often have to rely on circumstantial evidence to

show that an individual was the actual user of a particular

account.

      38.   Only by piecing together information contained in the

contents of an account may an investigator establish who was the

actual user of an account. Often those pieces will come from a

time period before the account was used in the criminal

activity. Limiting the scope of the search would, in some
instances, prevent the government from identifying the true user

of the account and, in other instances, may not provide a

defendant with sufficient information to identify other users of
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the account. Therefore, the complete contents of a given

account, including the e-mail addresses and messages sent to

that account, often provide important evidence regarding the

actual user's dominion and control of that account. For the

purpose of searching for content demonstrating the actual

user(s) of the SUBJECT ACCOUNTS, I am requesting a warrant

requiring the PROVIDER to turn over all information associated

with the SUBJECT ACCOUNTS without a date restriction for review
by the search team.

      39.   Relatedly, the government must be allowed to determine

whether other individuals had access to a SUBJECT ACCOUNTS. If

the government were constrained to review only a small

subsection of an account, that small subsection might give the

misleading impression that only a single user had access to the

account.

      40.   I also know based on my training and experience that

criminals discussing their criminal activity may use slang,

short forms (abbreviated words or phrases such as “lol” to

express “laugh out loud”), or codewords (which require entire

strings or series of e-mail conversation s to determine their

true meaning) when discussing their crimes.         They can also

discuss aspects of the crime without specifically mentioning the

crime involved. In the electronic world, it is even possible to

use pictures, images and emoticons (images used to express a
concept or idea such as a happy face inserted into the content

of an e-mail or the manipulation and combination of keys on the

computer keyboard to convey an idea, such as the use of a colon
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and parenthesis :) to convey a smile or agreement) to discuss

matters. “Keyword searches” would not account for any of these

possibilities, so actual review of the contents of the SUBJECT

ACCOUNTS by law enforcement personnel with information regarding

the identified criminal activity, subject to the search

procedures set forth in Attachment B, is necessary to find all

relevant evidence within the account.

      41.   As set forth in Attachment B, I am requesting a
warrant that permits the search team to keep the original

production from the PROVIDER under seal until the investigation

is completed and, if a case is brought, that case is completed

through disposition, trial, appeal, or collateral proceeding.

      42.   I make that request because I believe it might be

impossible for the PROVIDER to authenticate information taken

from the SUBJECT ACCOUNTS as its business record without the

original production to examine. Even if the PROVIDER kept an

original copy at the time of production (against which it could

compare against the results of the search at the time of trial),

the government cannot compel the PROVIDER to keep a copy for the

entire pendency of the investigation and/or case. If the

original production is destroyed, it may be impossible for the

PROVIDER to examine a particular document found by the search

team and confirm that it was a business record of the PROVIDER's

taken from the SUBJECT ACCOUNTS.
      43.   I also know from my training and experience that

accounts may be purged as part of the ordinary course of

business by the PROVIDER. For example, if an account is not
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accessed within a specified time period, its contents- - may be

deleted. As a consequence, there is a risk that the only record

of the contents of an account might be the production that a

provider makes to the government, for example, if a defendant is

incarcerated and does not (perhaps cannot)access his or her

account. Preserving evidence, therefore, would ensure that the

government can satisfy its Brady obligations and give the

defendant access to evidence that might be used in his or her
defense.

                   VI.   REQUEST FOR NON-DISCLOSURE
      44.   Pursuant to 18 U.S.C. § 2705(b), I request that the

Court enter an order commanding the PROVIDER not to notify any

person, including the subscriber(s) of the SUBJECT ACCOUNTS, of

the existence of the warrant because there is reason to believe

that such notification will result in: (1) flight from

prosecution; (2) destruction of or tampering with evidence;

(3) intimidation of potential witnesses; or (4) otherwise

seriously jeopardizing the investigation. The current

investigation set forth above is not public, and I know, based

on my training and experience, if the PROVIDER or other person

notifies the target(s) of the investigation that a warrant has

been issued for the SUBJECT ACCOUNTS, the target(s) might take

steps to seriously jeopardize the investigation.




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                             VII. CONCLUSION
      45.   Based on the foregoing, I request that the Court issue

the requested warrant.




                                      Andrew James Marquette
                                      Special Agent
                                      Federal Bureau of
                                      Investigation

 Subscribed to and sworn before
 me this ____ day of ___________,
 2019.



 HONORABLE __________________
 UNITED STATES MAGISTRATE JUDGE




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                               ATTACHMENT A

                        PROPERTY TO BE SEARCHED

      This warrant applies to information associated with the

accounts identified as “Docta Canis”, “Big Wood”,

“Colt45caliber”, “The Hard Tard”, “homo chomo”, and

“colt45caliber@gmail.com” that are within the possession,

custody, or control of Google, Inc., an electronic communication

and remote computing services provider, headquartered at 1600

Amphitheatre Parkway, Mountain View, California 94043,

regardless of where such information is stored, held, or

maintained.




                                     i
                                               Instrumentality Protocol
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                               ATTACHMENT B

                           ITEMS TO BE SEIZED


    SEARCH PROCEDURE
      1.   The warrant will be presented to personnel of Google

Inc. (the “PROVIDER”), who will be directed to isolate the

information described in Section II below.

      2.   To minimize any disruption of service to third

parties, the PROVIDER’s employees and/or law enforcement

personnel trained in the operation of computers will create an

exact duplicate of the information described in Section II

below.

      3.   The PROVIDER’s employees will provide in electronic

form the exact duplicate of the information described in Section

II below to the law enforcement personnel specified below in

Section IV.

      4.   With respect to contents of wire and electronic

communications produced by the PROVIDER (hereafter, “content

records,” see Section II.10.a. below), law enforcement agents

and/or individuals assisting law enforcement and acting at their

direction (the “search team”) will examine such content records

pursuant to search procedures specifically designed to identify

items to be seized under this warrant. The search shall extract

and seize only the specific items to be seized under this

warrant (see Section III below).
      5.   If the search team encounters immediately apparent

contraband or other evidence of a crime outside the scope of the

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items to be seized, the team shall immediately discontinue its

search pending further order of the Court and shall make and

retain notes detailing how the contraband or other evidence of a

crime was encountered, including how it was immediately apparent

contraband or evidence of a crime.

      6.   The search team will complete its search of the

content records as soon as is practicable but not to exceed 120

days from the date of receipt from the PROVIDER of the response
to this warrant. The government will not search the content

records beyond this 120-day period without first obtaining an

extension of time order from the Court.

      7.   Once the search team has completed its review of the

content records and created copies of the items seized pursuant

to the warrant, the original production from the PROVIDER will

be sealed—and preserved by the search team for authenticity and

chain of custody purposes—until further order of the Court.

Thereafter, the search team will not access the data from the

sealed original production which fell outside the scope of the

items to be seized absent further order of the Court.

      8.   The special procedures relating to digital data found

in this warrant govern only the search of digital data pursuant

to the authority conferred by this warrant and do not apply to

any search of digital data pursuant to any other court order.

      9.   Pursuant to 18 U.S.C. § 2703(g) the presence of an
agent is not required for service or execution of this warrant.




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    INFORMATION TO BE DISCLOSED BY THE PROVIDER

      10.   To the extent that the information described in

Attachment A is within the possession, custody, or control of

the PROVIDER, including any information that has been deleted

but is still available to the PROVIDER, or has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the

PROVIDER is required to disclose the following information to

the government for each SUBJECT ACCOUNTS listed in Attachment A:

            a.   All contents of all wire and electronic

communications associated with the SUBJECT ACCOUNTS including:

                 i.    All emails, communications, or messages of

any kind associated with the SUBJECT ACCOUNTS, including stored

or preserved copies of messages sent to and from the account,

deleted messages, and messages maintained in trash or any other

folders or tags or labels, as well as all header information

associated with each e-mail or message, and any related

documents or attachments.

                 ii.   All records or other information stored by

subscriber(s) of the SUBJECT ACCOUNTS, including address books,

contact and buddy lists, calendar data, pictures, videos, notes,

texts, links, user profiles, account settings, access logs, and

files.

                 iii. All folders and files associated with the

SUBJECT ACCOUNTS, including stored or preserved copies of files

sent to and from the account, the source and destination

addresses associated with file, the date and time at which each

file was sent, and any user-created organizational structure
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within the SUBJECT ACCOUNTS.

                 iv.   All transactional information of all

activity of the Google, Inc. accounts described above, including

log files, messaging logs, records of session times and

durations, dates and times of connecting, and methods of

connecting, and emails “invites” sent or received via Google,

Inc., and any contact lists.

                 v.    All records pertaining to communications
between the PROVIDER and any person regarding the SUBJECT

ACCOUNTS, including contacts with support services and records

of actions taken.

           b.    All other records and information, including:

                 i.    All subscriber information, including the

date on which the account was created, the length of service,

the IP address used to register the account, the subscriber’s

full name(s), screen name(s), any alternate names, other account

names or e-mail addresses associated with the account, linked

accounts, telephone numbers, physical addresses, and other

identifying information regarding the subscriber, including any

removed or changed names, email addresses, telephone numbers or

physical addresses, the types of service utilized, account

status, account settings, login IP addresses associated with

session dates and times, as well as means and source of payment,

including detailed billing records, and including any changes
made to any subscriber information or services, including

specifically changes made to secondary email accounts, phone

numbers, passwords, identity or address information, or types of
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services used, and including the dates on which such changes

occurred, for the following accounts:

                       (I)     the SUBJECT ACCOUNTS.

                       (II) any other account associated with the

SUBJECT ACCOUNTS, including by means of sharing a common

secondary, recovery, or alternate email address listed in

subscriber records for the SUBJECT ACCOUNTS or by means of

sharing a common phone number or SMS number listed in subscriber
records for the SUBJECT ACCOUNTS.

                       (III)        any other account accessed by a

device with an identifier responsive to the device identifiers

called for in paragraph 10.b.iii.

                 ii.   All user connection logs and transactional

information of all activity relating to the SUBJECT ACCOUNTS

described above in Section II.10.a., including all log files,

dates, times, durations, data transfer volumes, methods of

connection, IP addresses, ports, routing information, dial-ups,

and locations.

                 iii. Any information identifying the device or

devices used to access the SUBJECT ACCOUNTS, including any

Android ID, Advertising ID, unique application number, hardware

model, operating system version, unique device identifier,

Global Unique Identifier (“GUID”), serial number, mobile network

information, phone number, device serial number, MAC address,
Electronic Serial Number (“ESN”), Mobile Electronic Identity

Number (“MEIN”), Mobile Equipment Identifier (“MEID”), Mobile

Identification Number (“MIN”), Subscriber Identity Module
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(“SIM”), Mobile Subscriber Integrated Services Digital Network

Number (“MSISDN”), International Mobile Subscriber Identifier

(“IMSI”), International Mobile Equipment Identity (“IMEI”), or

Apple advertiser ID or ID for advertisers (“IDFA”), and any

other information regarding the types of devices used to access

the SUBJECT ACCOUNTS or other device-specific information;

                 iv.   Any information showing the location of the

user of the SUBJECT ACCOUNTS, including while sending or
receiving a message using the SUBJECT ACCOUNTS or accessing or

logged into the SUBJECT ACCOUNTS.

      INFORMATION TO BE SEIZED BY THE GOVERNMENT

      11.   For the SUBJECT ACCOUNTS listed in Attachment A, the

search team may seize:

            a.   All information described above in Section

II.10.a. that constitutes evidence, contraband, fruits, or

instrumentalities of violations of 18 U.S.C. §§ 875(c)

(communication containing threat to injure), namely:

                 i.    Information relating to who created,

accessed, or used the SUBJECT ACCOUNTS, including records about

their identities and whereabouts.

                 ii.   Files and information containing threats to

injure as defined in 18 U.S.C. § 875(c).

                 iii. Any and all files or records which contain

threats to injury.

                 iv.   Any files or records that pertain to

accounts with any Internet Service Provider.

                 v.    Any passwords, encryption keys, and other
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access devices that may be necessary to access folders and files

in the SUBJECT ACCOUNTS;

            b.   All records and information described above in

Section II.10.b.

    PROVIDER PROCEDURES

      12.   Notwithstanding 18 U.S.C. § 875(c) or any similar

statute or code, the provider shall disclose responsive data by

sending it to the following address via US Mail, or to the

following email address:


            Special Agent Andrew Marquette
            4811 Airport Plaza Drive, Suite 500
            Long Beach, California 90815
            VIA EXPRESS DELIVERY SERVICE


            Phone: (310) 961-0745
            E-mail: ajmarquette@fbi.gov

      13.   IT IS FURTHER ORDERED that the PROVIDER shall provide

the name and contact information for all employees who conduct

the search and produce the records responsive to this warrant.

      14.   IT IS FURTHER ORDERED, pursuant to 18 U.S.C.

§ 2705(b), that the PROVIDER shall not notify any person,

including the subscriber(s) of each account identified in

Attachment A, of the existence of the warrant, until further

order of the Court, until written notice is provided by the

United States Attorney’s Office that nondisclosure is no longer

required, or until one year from the date the PROVIDER complies

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with this warrant or such later date as may be set by the Court

upon application for an extension by the United States. Upon

expiration of this order, at least ten business days prior to

disclosing the existence of the warrant, the PROVIDER shall

notify the agent identified in paragraph 12 above of its intent

to so notify.




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